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T?ansaction Da§§: 94796/2M

Va§er Ha§§: HIEHQELJ BRDBNAH§H

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Am§:Tendered; §555.66

Total Bue: 5555.6@
Tntal Tender ed: $535.59
' ~ Chang§ Amt~ §B.BQ

 

'Q fée of $B will be assessed on _:.
- 21 all re§urned remittances. '

 

 

 

 

 

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